Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 1 of 19




                                                                       Court Exhibit 1
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 2 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 3 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 4 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 5 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 6 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 7 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 8 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 9 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 10 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 11 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 12 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 13 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 14 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 15 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 16 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 17 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 18 of 19
Case 1:20-cr-00245-RBJ Document 67 Filed 05/17/21 USDC Colorado Page 19 of 19
